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       Honorable J. Kelly Arnold




                       UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WASHINGTON
                                AT SEATTLE


UNITED STATES OF AMERICA,
                                                        No. CR06-0242 JLR
                                   Plaintiff,
                                                        ORDER GRANTING MOTION TO
       v.                                               REOPEN DETENTION HEARING
                                                        BASED ON NEW INFORMATION
LUCINDA M. WYNN,                                        AND TO RELEASE DEFENDANT

                                   Defendant.




       THIS COURT, having considered Defendant Lucinda Wynn’s motion, her defense

counsel’s memorandum in support, and the positions of both the U.S. Pretrial Services

Office and the United States Attorney’s Office, does hereby:

       ORDER that the July 21, 2006 detention hearing be reopened; and

       FURTHER ORDER that Defendant Wynn be released from custody on the

conditions initially imposed by Judge Benton. These conditions include the requirement

that she submit to drug testing, obtain an evaluation, and enter into treatment. The

Appearance Bond of June 26, 2006, is REINSTATED.
       DONE this 1st day of Septermber, 2006.


                                                s/ J Kelley Arnold
                                                The Honorable J. Kelly Arnold
                                                United States Magistrate Court Judge



Presented by:
s/ Kimberly N. Gordon
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